EXHIBIT F
DEPARTMENT OF HEALTH & HUMAN SERVICES                                         CHEF.rs
Centers for Medicare & Medicaid Services                                                          ‘
7500 Security Boulevard, Mail Stop $2-26-12
Baltimore, Maryland 21244-1850                                        RS 6 CE + LD SES
Center for Medicaid, CHIP, and Survey & Certification


Mr. Don Gregory, Director
Bureau of Health Services Financing                                               ;
Department of Health and Hospitals                                          NOV       - 2 2010
Post Office Box $1030
Baton Rouge, Louisiana 70821-9030                                        RECE IVED
Attention:        Sandra Victor                                                       JAN 11 2011
RE: Louisiana 10-26
                                                                       Policy, Development and implementation
Dear Mr. Gregory:

We have reviewed the proposed amendment to Attachment 4.19-A of your Medicaid State plan
submitted under transmittal number (TN) 10-26. The purpose of this amendment is to amend the
Disproportionate Share Hospital (DSH) reimbursement methodology to establish a DSH
category and payment methodology for hospitals that participate in the Low Income and Needy
Care   Collaboration      (LINCC).         The   state has   agreed    to provide        certification   from   the
governmental entities that the Intergovernmental Transfers (IGTs) are voluntary.

We conducted our review of your submittal according to the statutory requirements at sections
1902(a)(2), 1902(a){13), 1902(a)(30), 1903{a), and 1923 of the Social Security Act and the
implementing Federal regulations at 42 CFR 447 Subpart C. As part of the review process the
State was asked to provide information regarding funding of the State share of expenditures
under Attachment 4,19-A. Based upon your assurances we are pleased to inform you that
Medicaid State plan amendment 10-26 is approved effective January 21, 2010. We are enclosing
the HCFA-179 and the amended plan pages.

If you have any questions, please call Sandra Dasheiff, CPA at (214) 767-6490.

                                              Sincerely,



                                                   y Mann
                                              Director
                                              Center for Medicaid, CHIP, and Survey & Certification


Enclosures
DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                                              FORM APPROVE
HEALTH CARE FINANCING ADMINISTRATION                                                                                                 OMB NO. oosediay
  TRANSMITTAL AND NOTICE OF APPROVAL OF | |. TRANSMITTAL NUMBER:                                                               2. STATE
                            STATE PLAN MATERIAL                                       10-26                  .                 Louwisisna
                 .                                                      3. PROGRAM IDENTIFICATION: TITLE XIX OF THE
        FOR: REALTH CARE FINANCING ADMINISTRATION                          SOCIAL SECURITY ACT (MEDICAID)

 TO:     REGIONAL ADMINISTRATOR                                         4. PROPOSED EFFECTIVE DATE
         HEALTH CARE FINANCING ADMINISTRATION
         DEPARTMENT OF HEALTH AND HUMAN SERVICES                                      January 21, 2010
 5, TYPE OF PLAN MATERIAL (Check One}:
       [1] NEW STATE PLAN              (] AMENDMENT TO BE CONSIDERED AS NEW PLAN                                          AMENDMENT
                     COMPLETE BLOCKS 6 THRU    IG IF THIS IS AN AMENDMENT (Senarate Transmittal for cach anrendment)
 6. FEDERAL STATUTE/REGUILATION CITATION:                              J. FEDERAL BUDGET IMPACT:
    42 CFR 447, Subpart E                                                 aFFY 2910 *A,9Y2,FS 7                                      soon
                                                                          b, FEY 2011                                                *50.00
 8. PAGE NUMBER OF THE PLAN SECTION OR ATTACHMENT: | 9. PAGE NUMBER OF THE SUPERSEDED PLAN
                                                                            SECTION OR ATTACHMENT                          (ff Applicable}:
       Attachment 4.19-A, Item 1, Page 10d                             Same (1'N 08-09)
       Attachment 4.19-A, tiem 1, Page 10k(6)                          Same (T'N 09-45}
       Attachment 4.1%A, Item 1, Pages 10k(7}, 10k(8}, 109),           None (New pages)


 10. SUBJECT OF AMENDMENT:              The purpese of this amendment is to amend the DSH reimbursement
 methodology to establish a DSH category and payment methodology for hospitals that participate in the
 Lew income and Needy Care Collaboration (LINCC).
 11. GOVERNOR’S REVIEW (Check One):
             GOVERNOR’S OFFICE REPORTED NO COMMENT                          OTHER, AS SPECIFIED:
                 COMMENTS OF GOVERNOR'S OFFICE ENCLOSED                     The Governor does not review state plan material.
            NO REPLY RECEIVED WITHIN 45 DAYS OF SUBMITTAL

 12. SIGNATURE OF                TE AGENCY OFFICIAL:                  16, RETURN TO:

                     ‘| 4       pe                                       State of Louisiana
          PHD!        NAME:             f                                Department of Health and Hospitals
        Ajak‘Levine                                                      628 N. 4" Strect
 Me ales 7                                                               PO Box 91030
         ecreia
 1S DATE SUBMITTED.                                                      Baton Rouge,                 LA   70821-9038
       March 30, 2010
                                                   FOR REGIONAL OFFICE USE ONLY
 17, DATE RECEIVED:                                                  18. DATE APPROYED;
                                                                                         Se 1O
                                 PLAN APPROVED - ONE COPY ATTACH
 19, EFFECTIVE DATE OF APPROVED MATERIAL:             - SIGN    E OH REGIONS}.                                       OFFICIAL:
                                           JAN 21 2010                  2                                                 mK
 Z|. TYPED NAME:                                                     23. TITLE:                   -
                              \Nillian        | asowSKi                           Dury Director,                                   CMCS
 23, REMARKS:                                                                     %           ‘
 * The fiscal impact is unable io be determined at this time as this is a new process for the state and there have not been any
 hospitals who signed the Low-Income and Needy Care Collaboration Agreement at this time.




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                                      regres Manager, om 18fizfjo                                                    Fo           Pe
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STATE PLAN UNDER TITLE XIX OF THE SOCIAL SECURITY ACT                                    ATTACHMENT 4.19-A
MEDICAL ASSISTANCE PROGRAM                                                                    ltem 1, Page 10 ¢

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METHODS   AND STANDARDS POR ESTABLISHING PAYMENT RATES - [N-PATIENT HOSPITAL CARE


                                Meet the definition of a public non-rural community hospital as defined
                                in 1.D.3.e. below; or

                                Effective September 15, 2006, be a private non-rural community hospital
                                as defined in {.D.3.f. below; or
                                Effective November 3, 1997, be a small rural hospital as defined in
                                1.D.3.6.5 or
                                Effective for dates of service on or after January 1, 2008, be a Medicaid
                                enrolled non-state acute care hospital that expands their cxisting distinct
                                part psychiatric unit or that enrolls a new distinct part psychiatric unit,
                                and signs an addendum to the Provider Enrollment form (PE-50) by April
                                3, 2008 with the Department of Health and Hospitals, Office of Mental
                                Health: or
                                Effective for dates of service on or after April 7, 2008, be 2 Medicaid-
                                enrolled non-state acute care hospital that establishes a Mental Health
                                Emergency Room Extension (MHERE), and signs a Provider Enrollment
                                form    (PE-50}    by June   1, 2008   with the Department        of Health   and
                                Hospitals, Office of Mental Health; or
                                Effective for dates of service on or after January 21, 2010, be a hospital
                                participating in the Low Income and Needy Care Collaboration; and
                                In addition to the qualification criteria outlined in 1.D.1.a.-j. above,
                                effective July 1, 1994, the qualifying disproportionate share hospital must
                                also have a Medicaid inpatient utilization rate of at least one percent
                                (1%).
                 2.   General Provisions for Disproportionate Share Payments
                      a.   ‘Total cumulative disproportionate share payments under any and all DSH
                           payment methodologies shall not exceed the federal disproportionate share
                           state allotment for Louisiana for each federal fiscal year. The Department
                           shall make necessary downward adjustments to hospitals’ disproportionate
                           share payments to remain within the federal disproportionate share allotment.




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                     g.   Mental Health Emergency Room Extensions (MHERE)

                          I)      Medicaid-enrolled non-state, acute care hospitals that establish a Mental
                                  Health Emergency Room Extension (MHERE) and sign an addendum to
                                  the Provider Enrollment form (PE-50) by July 1, 2010 shall be reimbursed
                                  for their net uncompensated care costs for psychiatric services rendered to
                                  patients, The net uncompensated care cost is the Medicaid shortfall plus
                                  the cost of treating the uninsured.
                          2)      Qualifying non-state, acute care hospitals must:
                                  a)    be located in a region of the state that does not currently have an
                                        MHERE; and
                                  b}    not receive funding for their MHERE from another source.

                          3)      The amount appropriated for this pool in SFY 2010 is $7,000,000,         If the
                                  net uncompensated care costs of all hospitals qualifying for this payment
                                  exceeds $7,000,000, payment will be each qualifying hospital’s pro rata
                                  share of the pool calcufated by dividing its net uncompensated care costs
                                  by the total of the net uncompensated care costs           for all hospitals
                                  qualifying for this payment multiplied by $7,000,000.

                          4)      Qualifying hospitals must submit costs and patient specific data in 3
                                  format specified by the Department. Cost and lengths of stay will be
                                  reviewed for reasonableness before payments are made.

                          5)      Payments shali be made on a quarterly basis.

                     h.   Low Income and Needy Care Collaborating Hospitals
                           i)     In order to participate under the Low Income and Needy Care
                                  Collaborating Hospital DSH category a hospital must be party to a Low
                                  Income and Needy Care Collaboration Agreement with the Department of
                                  Health and Hospitals. A Low Income and Needy Care Coilaboration
                                  Agreement is defined as an agreement between 2 hospital and a state or
                                  local governmental entity to collaborate for purposes of providing
                                  healthcare services to low income and needy patients.
                           2)     DSH payments to Low Income and Needy Care Collaborating Hospitals
                                  shall be calculated as follows:
                                  a}   in each quarter, the Department shall divide hospitals qualifying
                                       under this DSH category into two pools. The first pool shali include
                                       hospitals that, in addition to qualifying under this DSH category, also
                                        qualify for DSH payments under any other DSH category. Hospitals
                                        in the first pool shall be eligible to receive DSH payments under the
                                                            -       1
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STATE PLAN UNDER TITLE XIX OF THE SOCIAL SECURITY ACT                               ATTACHMENT 4.1%A
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                                   provisions of subsection b). The second poo! shall include all other
                                   hospitals qualifying under this DSH category. Hospitals in the
                                   second pool shall be eligible to receive DSH payments under the
                                   provisions of subsection ¢).
                             b}    In each quarter, to the extent the Department appropriates funding to
                                   this DSH category, hospitals that qualify under this subsection shall
                                   receive 100 percent of the total amount appropriated by the
                                   Department for this DSH category.
                                   i)    lf the net uncompensated care costs of these hospitals exceed the
                                         amount appropriated for this pool, payment shall be made based
                                         on each hospital’s pro rata share of the pool. The pro rata share
                                         shall be calculated by dividing the hospital’s net uncompensated
                                         care costs by the total of the net uncompensated care costs for all
                                         hospitals qualifying under this subsection and multiplying by the
                                         amount appropriated by the Department.
                                   ii)   1f the amount appropriated for this DSH category exceeds the net
                                         uncompensated care costs of all hospitals qualifying under this
                                         subsection, payment shall be made up to each hospital’s net
                                         uncompensated care costs.
                                   iii) Any amount available after all distributions are made under the
                                        provisions in this subsection shall be distributed subject to the
                                        provisions.in.subsection c) below.
                              c)   In each quarter, to the extent distributions are available, and after all
                                   distributions are made under provisions in the previous subsection b),
                                   distributions under the provisions of this subsection c) shall be made
                                   according to the following terms.
                                   i)    if the net uncompensated care costs of all hospitals qualifying for
                                         payment under the provisions of this subsection exceed the
                                         amount available for this pool, payment shall be made based on
                                         each hospital’s pro rata share of the pool.   The pro rata share
                                         shall be calculated by dividing its net uncompensated care costs
                                         by the total of the net uncompensated care costs for all hospitals
                                         qualifying under this subsection.
                                   ii)   Ifthe amount available for peyments under this subsection
                                         exceeds the net uncompensated care costs of all qualifying
                                         hospitals, payments shal).be made up to each hospital's net
                                         uncompensated care costs and the remaining amount shell be

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                                           used by the Department to make disproportionate share payments
                                           under this DSH category in future quarters.
                                d)   in the event it ts necessary to reduce the amiount of disproportionate
                                     share payments under this DSH category to remain within the federal
                                     disproportionate share allotment in any quarter, the Department shall
                                     caleulate a pro rata decrease for each hospital qualifying under the
                                     provisions of subsection c). The pro rata decrease shall be based on a
                                     ratio determined by:
                                     i}    dividing that hospital’s DSH payments by the total DSH
                                           payments for all hospitals qualifying under subsection c) in that
                                           quarter; and
                                     ii)   multiplying the amount of DSH payments calculated in excess of
                                           the federal disproportionate share allotment.
                                     If necessary in any quarter, the Department will reduce Medicaid
                                     DSH payments under these provisions to zero for all applicable
                                     hospitals.
                                e)   Affer the reduction in subsection d) has been applied, if it is necessary
                                     to further reduce the amount of DSH payments under this DSH
                                     category to remain within the federa! disproportionate share allotment
                                     in any quarter, the Department shall calculate a pro rata decrease for
                                     each hospital qualifying under subsection b). The pro rata decrease
                                     shall be based on a ratio determined by:
                                     i)    dividing that hospital’s DSH payments by the total DSH
                                           payments for all hospitals qualifying under subsection b) in that
                                           quarter; and
                                     it)   multiplying the amount of DSH payments calculated in excess of
                                           the federal disproportionate share allotment.
                                     If necessary in any quarter, the Department shall reduce Medicaid
                                     DSH payments under these provisions to zero for all applicable
                                     hospitals.
                                f}   Qualifying hospitals must submit costs and patient specific data in a
                                     format specified by the Department. Costs and lengths of stay will be
                                     reviewed for reasonableness before payments are made.
                                g)   Payments shall be made on 4 quarterly basis, however, each hospital's
                                     eligibility for DSH and net uncompensated care costs shall be

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                              determined on an annual basis,

                              h)   Payments to hospitals qualifying under this DSH category shall be
                                   made subsequent to any DSH payments for which a hospital is
                                   eligible under another DSH category.
                              i)   Aggregate DSH payments for hospitals that receive payment from
                                   this category, and any other DSH category, shall not exceed the
                                   hospital’s specific DSH limit. If payments calculated under this
                                   methodology would cause a hospital's aggregate DSH payment to
                                   exceed the limit, the payment from this category shali be capped at
                                   the hespital’s specific DSH limit. The remaining payments shall be
                                   redistributed to the other hospitals in accordance with these
                                   provisions.



       E.    (Reserved)




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